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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
                                    (BOSTON DIVISION)

                                     CASE NO. 17-CR-10265

UNITED STATES OF AMERICA,

                        Plaintiff,


v.

SALLY ANN JOHNSON,

                       Defendant.


          DEFENDANT’S MOTION FOR PRO HAC VICE LIMITED ADMITTANCE

          PLEASE TAKE NOTICE that, in accordance with Local Rule 83.5.3 of the

Practice by Persons not Members of the Bar of the United States District Court for the

District of Massachusetts, the undersigned respectfully moves for the limited admission

pro hac vice of David M. Garvin of the Law Offices of David M. Garvin, P.A. (“David M.

Garvin, Esq.”), 200 South Biscayne Boulevard, Suite 3150, Miami, FL 33131, Phone:

(305) 371-8101, for the purposes of appearance as counsel for Defendant Sally Ann

Johnson. In support thereof, please find the affidavit of David M. Garvin attached

hereto.

          Movant, Jeremia Pollard of Hannon Lerner, 184 Main Street, Lee, MA 01238,

Phone: (413) 243-3311, is a member of good standing of the Massachusetts State Bar

and the United States District Court for the District of Massachusetts.

          Movant maintains an office in the State of Massachusetts and is authorized to file

through the Court’s electronic filing system.
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       Movant consents to be designated as a member of the Bar of this Court with

whom the Court and opposing counsel may readily communicate regarding the conduct

of the case, upon whom filings shall be served, who shall be required to electronically

file all documents and things that may be filed electronically, and who shall be

responsible for filing documents in compliance with the CM/ECF Administrative

Procedures.

       In accordance with the local rule of this Court, David M. Garvin, Esq. has made

payment for this Court’s admission fee with the filing of this motion.

       David M. Garvin, Esq., through Movant as designated counsel, seeks permission

to file a limited Notice of Appearance in this instant matter for the limited purposes of

representing the Defendant before the district court and further requests the Court to

provide Notice of Electronic Filings to David M. Garvin, Esq. at email address:

                                  ontrial2@gmail.com.

      WHEREFORE, Jeremia Pollard moves this Honorable Court to enter an Order

authorizing David M. Garvin of The Law Offices of David M. Garvin, P.A. to appear

before this Court on behalf of Defendant Sally Ann Johnson for all purposes relating to

the proceedings in the above-styled matter and directing the Clerk to provide notice of

electronic filings to David M. Garvin, Esq. at ontrial2@gmail.com.

                                                 Respectfully submitted,
                                                 LAW OFFICES OF JEREMIA PoLLARD,   P.A.
                                                 184 Main Street
                                                 Lee, MA 01238
                                                 Telephone: (413) 243-3311
                                                 Facsimile: (413) 243-4919
                                                 Email: jermiapollard@yahoo.com

                                                  By: Isi Jeremia Pollard
                                                        JEREMIA POLLARD, ESQ.
                                                         Massachusetts Bar No. 643382
                                             2
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                  CERTIFICATE OF GOOD FAITH PURSUANT TO
                            LOCAL RULE 7.1(a)(2)


      David M. Garvin, Esq. has discussed this Motion for Limited Pro Hac Vice

Admission with Assistant United States Attorney Brian Perez-Daple on September 20,

20 17, AUSA Perez-Daple does not object.


                                               By:   Is! David M. Garvin
                                                     DAVID M. GARVIN, ESQ.
                                                     Florida Bar No. 347736


                                               By:    Is! Jeremia Pollard
                                                     JEREMIA POLLARD, ESQ.
                                                     Massachusetts Bar No. 643382




                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 28, 2017, a true and correct copy of the

foregoing was furnished by CMIECF to all counsel of record.


                                               By:    Is! Jeremia Pollard
                                                     JEREMIA POLLARD, ESQ.




                                           3
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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                                 (BOSTON DIVISION)

                                  CASE NO. 17-CR-I 0265

UNITED STATES OF AMERICA,

                     Plaintiff,


V.


SALLY ANN JOHNSON,

                     Defendant.


                      AFFIDAVIT OF DAVID M. GARVIN
                IN SUPPORT OF MOTION FOR ADMISSION TO
             PRACTICE PRO HAC VICE FOR SALLY ANN JOHNSON

     Before me the undersigned authority, personally appeared David M. Garvin, who

after being duly sworn, deposes and states:

      1. I am an attorney with the law firm of David M. Garvin, P.A. located at 200

South Biscayne Blvd., Suite 3150, Miami, Florida 33131. The telephone number is

305-371-8101 and the fax number is 305-371-8848. The email address is:

ontrial2@gmail.com

      2. I was admitted to practice law is the state of Florida in October 1982. I have

remained a member in good standing of the Florida Bar since 1982. My Florida Bar

number 347736. See attached certificate.

      3. I am not admitted to practice in the District of Massachusetts (except as to the

instant request for pro hac vice admission in United States v. Sally Ann Johnson, Case No.
              Case 1:17-cr-10265-DJC Document 6 Filed 09/28/17 Page 5 of 6



17-CR 10265.)

   4. lam a member in good standing of the bar of the United States District Court for the

Southern, Middle, and Northern Districts of Florida, the United States District Court for the

Eastern District of Tennessee, the United States Courts of Appeal for the 6th,     and 11th

Circuits, U.S. Court of Federal Claims, U.S. Tax Court, and the United States Supreme

Court.

   5. I have also been admitted to practice, pro hac vice, before the United States District

Courts for the Southern District of California, the District of Reno Nevada, the Eastern

District of Pennsylvania and the Eastern and Western Districts of Arkansas.

   6. I have never been disbarred or suspended from the practice of law before any

court, department, bureau or commission of any state or the United States, nor have

I received a reprimand from any such court, department, bureau or commission

pertaining to my conduct or my fitness as a member of the bar.

      7. I am in good standing in every jurisdiction where admitted to practice; there

are                                                             ir with the Local Rules of

the U.S. District Court for the District of


                                                  David M. Garvin
Miami-Dade County                   )
State of Florida                    )
   Subscribed and sworn to before me, this 28th day of September, 2017, by David
M. Garvin, personally known to me and who provided 1i1s driver’s
identification to be the person who appeared

My commission expires:
                                                                     Jr., Notary Public
       — %_    No*ary Pub’ic Sbte


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               Ro4ando Casais Jr
               My Comtnseion GG 127541
               ExØres O/1 212021
                 Case 1:17-cr-10265-DJC Document 6 Filed 09/28/17 Page 6 of 6




                                             The Florida Bar
                                                 651 East Jefferson Street
                                                Tallahassee, FL 32399-2300
John F. Harkness, Jr.                                                                                       Joshua E. Doyle
 Executive Director                                                                                  Executive Director Designate



    State of Florida              )
    County of Leon                )

                                                          In Re:          347736
                                                                          David Michael Garvin
                                                                          David M. Garvin, P.A.
                                                                          200 S. Biscayne Blvd., Ste. 3150
                                                                          Miami, FL 33 131-2305


    I HEREBY CERTIFY that I am the duly appointed custodian of membership records of The
    Florida Bar.

    I FURTHER CERTIFY that the records in the office of the Clerk of the Supreme Court of
    Florida indicate that said attorney was admitted to practice law in the State of Florida on October
    28, 1982.

    I FURTHER CERTIFY that the records in the office of The Florida Bar indicate that the above
    attorney is an active member of The Florida Bar in good standing.

    Dated this                  day of September, 2017.




    Pam Gerard, Manager
    Membership Records Dept.
    The Florida Bar

    PG/SS<:kswl :R10




651 East Jefferson Street   •   Tallahassee, FL 32399-2300   •   (850) 561-5600   •   FAX: (850) 561-9405   •   www.floridabar.org
